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Fact Sheet: President Donald J. Trump Addresses Risks
from Jenner & Block
   whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-risks-from-jenner-block

                                                                                                      March 25, 2025




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Fact Sheets
SUSPENDING SECURITY CLEARENCES TO PROTECT THE NATIONAL INTEREST:
Today, President Donald J. Trump signed an Executive Order to suspend security clearances
held by individuals at Jenner & Block LLP (Jenner) pending a review of whether such
clearances are consistent with the national interest.

      Security clearances held by Jenner employees will be immediately suspended, pending
      a review of whether their access to sensitive information is consistent with the national
      interest.
             The Federal Government will halt all material and services, including sensitive
             compartmented information facility (SCIF) access provided to Jenner and restrict
             its employees’ access to government buildings.
             Federal Agencies will also refrain from hiring Jenner employees unless
             specifically authorized.
      To ensure taxpayer dollars no longer go to contractors whose earnings subsidize
      activities not aligned with American interests, the Federal Government will terminate
      contracts that involve Jenner.



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     The practices of Jenner will be reviewed under Title VII to ensure compliance with civil
     rights laws against racial bias.

ADDRESSING ROGUE LAW FIRMS: President Trump believes that lawyers and law firms
that engage in conduct detrimental to critical American interests should not be subsidized by
American taxpayers or have access to our Nation’s secrets.

     Jenner pursues partisan goals, supports attacks against women and children based on
     the denial of the biological reality of sex, and backs the obstruction of efforts to prevent
     illegal aliens from committing horrific crimes and trafficking deadly drugs within our
     borders.
     Jenner has been accused of discriminating against its own employees on the basis of
     race and other categories prohibited by civil rights laws, including through the use of
     race-based “targets.”
     Jenner was also “thrilled” to re-hire Andrew Weissmann, a prosecutor known for his
     unethical behavior, including his role in engaging in partisan prosecution as part of
     Robert Mueller’s entirely unjustified investigation.
            Weissmann’s career has been rooted in weaponized government and abuse of
            power, including devastating tens of thousands of American families who worked
            for the now defunct Arthur Andersen LLP, only to have his unlawfully aggressive
            prosecution overturned by the Supreme Court.
            The numerous reports of Weissman’s dishonesty, including pursuit of nonexistent
            crimes, bribery to foreign nationals, and overt demand that the federal
            government pursue a political agenda against President Trump, is a concerning
            indictment of Jenner’s values and priorities.

A RETURN TO ACCOUNTABILITY: President Trump is delivering on his promise to end the
weaponization of government and protect the nation from partisan and bad faith actors who
exploit their influence.

     In addition to Jenner, President Trump has also taken action to hold other major law
     firms accountable.
     This Executive Order aligns with President Trump’s priority on refocusing government
     operations to serve the citizens of the United States.
     It builds on President Trump’s previous actions, such as signing an Executive Order on
     his first day in office to end the weaponization of the Federal government and ensure
     accountability for past misconduct.
     It follows his revocation of security clearances held by intelligence officials who falsely
     claimed Hunter Biden’s laptop was Russian disinformation during the 2020 election.




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